  Case: 1:17-cv-02393 Document #: 392 Filed: 03/15/22 Page 1 of 7 PageID #:12131




                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JOHN NAWARA,                                              )
                                                          )
            Plaintiff,                                    )
    v.                                                    )   Case No. 17-cv-2393
                                                          )
COUNTY OF COOK, a unit of local government, and           )
THOMAS DART, in his official capacity as                  )   Hon. Rebecca R. Pallmeyer
Sheriff of Cook County, Illinois,                         )
                                                          )
            Defendants.                                   )

         DEFENDANT’S RULE 59(e) MOTION TO ALTER OR AMEND JUDGMENT
                      REGARDING “SENIORITY BENEFITS”

         Defendant County of Cook moves this Court, pursuant to Fed. R. Civ. P. 59(e), for an order

altering or amending the portion of its February 15, 2022 Order and Judgment (hereafter, “the

Order”) directing Defendant to restore Plaintiff’s “seniority benefits.” (Dkt. No. 382, 383).1 As

a matter of law, a Rule 59(e) motion should be granted if the movant identifies a manifest error of

law or fact. Miller v. Safeco Ins. Co. of Am., 683 F.3d 805, 813 (7th Cir. 2012). The Order makes

a manifest error of law and fact by ordering restoration of seniority benefits. When, as here, no

back pay was granted, there is no legal way to restore pension-based seniority to Plaintiff. This is

a matter of state law governing how the Cook County Pension Fund must operate. Defendant’s

counsel has conferred with Plaintiff’s counsel, who confirmed for themselves that no pension-

based seniority can be provided to Plaintiff in the absence of back pay.




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     This Motion is being filed solely by the County because the Order refers to “Defendant Cook
    County” and directs “the Defendant” to “restore his [Nawara’s] seniority.” (Dkt. No. 382,
    Page ID # 12047). The Order does not require any action by the Sheriff.
                                                 1
  Case: 1:17-cv-02393 Document #: 392 Filed: 03/15/22 Page 2 of 7 PageID #:12132




       I.      Under Illinois Law, The Plaintiff Cannot Receive Seniority Benefits From The
               Cook County Pension Fund When He Has No Legal Right To Back Pay.

       The County respectfully submits that the Court made a manifest legal error in determining

that Plaintiff could receive “seniority benefits” tied to months that he did not work, without being

paid for months he did not work. (Dkt. No. 382.) That is because it is not possible under state law

for Plaintiff, an Illinois public employee, to receive “seniority benefits” – i.e., pension benefits –

for time he did not work, given that he had no legal right to back pay for the time he did not work.

In Illinois, exclusive jurisdiction to award pension benefits to a Cook County sheriff’s officer rests

with the Cook County Pension Fund, one of several public funds created by the Illinois Pension

Code, 40 ILCS 5/1-101 et seq. The Pension Code vests the Pension Fund with “exclusive”

jurisdiction to grant “benefits” to a County employee based on that employee’s length of service.

40 ILCS 5/1-109(a)(1)

        The Pension Fund is an agency with separate existence from the County and the Cook

County Sheriff’s Office, and its decisions to deny benefits to an employee can be challenged by

the Illinois Attorney General, or appealed to Illinois courts pursuant to the Illinois Administrative

Review Law. See 40 ILCS 5/1-115 (citing 735 ILCS 3-101, et seq.). See also Taylor v. Dart, No.

13 CH 26319 (Cir. Ct. Cook Cnty. Jul. 20, 2021), Ex. 1 hereto, at 3 (concluding that the “Pension

Fund, not the Sheriff,” is the only proper defendant when an officer whose termination was voided

seeks to recover lost pension benefits).

       Under the Pension Fund’s rules and regulations, benefits for “service credits” – seniority

benefits that go toward the officer’s retirement – are calculated based on the employee’s “work

history,” with employees receiving service credits for months they worked, and losing service

credits for months they do not work. See https://www.cookcountypension.com/employees/how-

                                                  2
  Case: 1:17-cv-02393 Document #: 392 Filed: 03/15/22 Page 3 of 7 PageID #:12133




service-is-calculated/ (last visited Mar. 11, 2022) (summarizing relevant Pension Fund

regulations). The Pension Fund expressly ties the accrual of service credits to pay. See id. (“Since

payroll is bi-weekly, to receive service credit you must receive at least ½ a paycheck every pay

period.”); see also 40 ILCS § 5/9-220(a) (requiring Pension Fund to tie service credits to months

worked).

       As seen above, under the legal framework governing payment of service benefits to Cook

County Sheriff officers, it is not possible for the Pension Fund to grant service benefits to an officer

for months not worked absent a judicial finding that the officer is entitled to back pay for that time

and an actual payment of same. The Pension Fund inextricably ties the accrual of service benefits

to a paycheck, and will not award benefits absent a paycheck. Here, the Court correctly denied

Plaintiff back pay for months he did not work, on the basis that this relief is not allowed under 42

U.S.C. § 12112(d)(4), the only statute under which Plaintiff prevailed, and the related remedies

statute. (See 11/4/2021 Op, Dkt. No. 373.) Because the Court ordered no back pay relief, the

Pension Fund cannot under its regulations grant Plaintiff any service credits for the months he did

not work, and the County has no legal authority to change that fact. The Order effectively ordered

relief to the Plaintiff from a nonparty, the Pension Fund, that the Fund cannot as a matter of law

provide and that the defendants in this case cannot cause it to provide.

       Further, and underscoring the insurmountable legal problem with the Order’s language

requiring restoration for “seniority benefits,” counsel for Plaintiff agrees that the Pension Fund

will not grant seniority benefits where, as here, Plaintiff is not entitled to back pay. On February

20, 2022, counsel for co-defendant Sheriff informed Plaintiff’s counsel of the problems described

above and invited Plaintiff’s counsel to contact the Pension Fund to confirm the practical and legal

impossibility of providing seniority under the circumstances of this case. The letter pointed out



                                                   3
  Case: 1:17-cv-02393 Document #: 392 Filed: 03/15/22 Page 4 of 7 PageID #:12134




that the Stipulations requested by and provided to the Court in April 2021 for consideration while

the motion for back pay and other relief was pending (Dkt 362) all expressly tied restoration of

seniority to issuance of back pay, and laid out the legal issues as well. See Marmor Ltr. To Linden,

Ex. 2 hereto. On March 9, 2022, Plaintiff’s counsel informed defense counsel that he had called

the Pension Fund, which had confirmed it could not restore seniority to an employee without some

type of back payment to the employee. See Alexander Aff., Ex. 3 hereto. Counsel for the Sherriff

indicated a motion likely would have to be filed to address this issue. Id. These recent exchanges

between counsel underscore the problem with the Order: it calls for an Illinois public employee to

get service benefits without back pay, and by doing so is contrary to Illinois law.

       Finally, the County respectfully notes that, by invoking the authorities above, the County

is not raising a legal question that it had a previous opportunity to argue and is responding to new

legal issues raised by the Court’s February 15, 2022 Order. That Order granted “seniority benefits”

in response to Plaintiff’s post-trial motion for reconsideration, which did not focus on or even

define “seniority,” and instead attempted to “relitigate the court’s denial of back pay.” (2/15/2022

Order, Dkt. No. 382, at Page ID # 12047.) Further, to the County’s surprise, the Order directed

only “Cook County,” and not the Sheriff, to comply. The Court’s Order separating back pay from

seniority, and ordering the County to pay seniority benefits, was a surprising result for which

neither the Plaintiff nor either Defendant advocated or argued, and which the County now

respectfully submits was in legal error, for the reasons above.

       II.     The Court Manifestly Erred By Overlooking The Parties’ April 19, 2021
               Pretrial Stipulation As To Seniority Benefits.

       The County respectfully submits that the Court made a manifest error of fact in its Order

by overlooking the post-trial Stipulation precluding seniority benefits to Plaintiff unless he is

awarded back pay. On April 19, 2021, the parties stipulated that, “in the event Nawara is awarded

                                                 4
  Case: 1:17-cv-02393 Document #: 392 Filed: 03/15/22 Page 5 of 7 PageID #:12135




backpay for the period from April 26, 2017 to September 26, 2017, the County will issue a check

to Nawara, making all required employer deductions, including pension contributions.”

(4/19/2021 Stip., Dkt. No. 362, ¶ 4). The parties further stipulated that they “mutually believe that

the Cook County Pension [Fund] would contribute the required employer pension contribution

amount which would be deposited/credited to Nawara’s pension account.” (Id., ¶ 5). Finally, and

crucially as to seniority, the parties stipulated that “if the Court awards backpay, 153 days will be

restored to Nawara’s County full time date.” (Id., ¶ 6 (emphasis added)).

       The Stipulation is clear: restoration of seniority and accompanying pension benefits were

tied, inextricably, to an award of back pay from the Court. Because the Court ultimately denied

back pay under § 12112(d)(4) (see 11/4/2021 Op, Dkt. No. 373) the Stipulation should have

defeated any claim by Plaintiff for “seniority benefits” untethered from back pay. The Order to

pay “seniority benefits” made a manifest error of fact by not accounting for the Stipulation and its

impact on Plaintiff’s ability to seek benefits without pay. To alter or amend the judgment here, in

light of the factual error, will enable the Court “to correct its own errors and thus avoid unnecessary

appellate procedures.” Miller, 683 F.3d at 81; see also Russell v. Delco Remy, 51 F.3d 746 (7th

Cir. 1995) (granting Rule 59(e) relief that “essentially enables a district court to correct its own

errors, sparing the parties and the appellate courts the burden of unnecessary appellate

proceedings”). In light of the Stipulation, the Plaintiff cannot receive seniority benefits absent

back pay.

                                          CONCLUSION

       Wherefore, for the reasons above, Defendant Cook County respectfully requests that the

Court alter or amend, and vacate, the portions of its February 15, 2022 Order and Judgment

requiring “seniority benefits” to Plaintiff Nawara.



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  Case: 1:17-cv-02393 Document #: 392 Filed: 03/15/22 Page 6 of 7 PageID #:12136




Dated: March 15, 2022                Respectfully submitted,

                                     KIMBERLY M. FOXX
                                     State’s Attorney of Cook County

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                                        6
  Case: 1:17-cv-02393 Document #: 392 Filed: 03/15/22 Page 7 of 7 PageID #:12137




                              CERTIFICATE OF SERVICE

        I certify that on March 15, 2022, I caused the foregoing DEFENDANT’S RULE 59(e)
MOTION TO ALTER JUDGMENT REGARDING “SENORITY BENEFITS” to be filed using
the Court’s CM/ECF system, which will send e-mail notification of the filing to all counsel of
record. These documents are available for viewing and downloading via the CM/ECF system.


                                             /s/Kathleen Ori
                                             Kathleen Ori, Attorney




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